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                                        UNITED STATES DISTRICT COURT
                                              DISTRICT OF MAINE

 STEVEN TUGGLE                                 )
                                               )
                            Plaintiff          )
                                               )
 v.                                            )         Docket No. 2:15-CV-00077-DBH
                                               )
 PORTLAND POLICE DEPARTMENT,                   )
 PPD CHIEF MICHAEL SAUSCHUCK                   )
 OFFICERS MCDONALD, JAMES and                  )
 ERIC JOHNSON                                  )
                     Defendants                )

                                         STIPULATION OF DISMSISSAL

          Now comes the Parties in the above-entitled action, by their Attorneys, and hereby stipulate and
 agree that this action be Dismissed, with prejudice and without costs, attorneys fees or interest as per the
 settlement agreement reached on May 18th, 2015.


 Dated at Biddeford, Maine this 26th day of May, 2015.

 ____/S/________________
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